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              IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION


UNITED STATES OF AMERICA

V.                                   NO. 4:05CR00305-015 SWW

JERRY ALAN GRISSOM


                                     ORDER
      Pending before the Court is defendant’s pro se motion to be released

from the remainder of the term of supervised release. The government has

responded that it has no objection to defendant’s motion, and the United

States Probation Office has advised the Court that defendant has complied

with the conditions of supervised release, successfully completed an

outpatient substance abuse program, never tested positive for illegal

substances, paid the special penalty assessment and submitted a DNA

sample. Based on criteria for early termination, defendant is not

eligible for early release from supervision due to his prior criminal

history,   substance    abuse   history   and   age.   However,    the   Court   is

satisfied that termination of supervised release is warranted due to the

conduct of the defendant and therefore finds that defendant’s motion [doc

#1179] should be and it is hereby granted in the interest of justice.

      IT IS SO ORDERED that defendant’s remaining term of supervised

release previously imposed be, and it is hereby, terminated.

      Dated this 2nd day of June 2011.



                                            /s/Susan Webber Wright
                                            United States District Judge
